Case 1:23-cv-02250-LGS Document 33-3 Filed 04/25/23 Page 1 of 10




                 EXHIBIT C
 Case 1:23-cv-02250-LGS Document 33-3 Filed 04/25/23 Page 2 of 10




                                                                           ~1         ZAMA
                                                                           #.         CAPITAL

October 28, 2021

Universal Entertainment Corporation

Ladies and Gentlemen:

We are pleased that Universal Entertainment Corporation ("Company") has decided to engage Zama
Capital Strategy Advisors LLC ("Zama") to provide strategy and business consulting services, including
services related to Okada Manila International, Inc. 's ("OMI") combination with 26 Capital Acquisition
Corp. as described in the attached Appendix. We look forward to working with you on this engagement
and have set fo1th below the agreed upon terms of our engagement.

The Company acknowledges that Zama is an independent contractor and will not act in any other capacity
including as a fiduciary to the Company. The Company acknowledges that it is not relying on the advice
of Zama for general business, investment, financial, tax, legal or accounting matters as it is seeking and
will rely on the advice of its own professionals and advisors for such matters. In recognition of the
foregoing, the Company agrees that Zama and its affiliates (together, the "Group") are not required to
restrict their activities as a result of this engagement.

You have agreed to a compensation structure that includes, (i) an upfront payment of $2,500,000 to be paid
as soon as reasonably practical following execution of this agreement, and (ii) a deferred payment of
$7,500,000 to be paid in cash, in stock of the Company or OMI, or in a combination of cash and stock al the
option of the Company as soon as reasonably practicable following the listing of OMI on a US-based
exchange but no later than by July 31, 2022, provided that by that time OM!' s stock is publicly listed on the
Nasdaq or another US-based exchange. If OMI stock is not publicly-listed on a US-based exchange by July
31, 2022, the defen-ed payment will be paid as soon as reasonably practical following the date such listing is
achieved. For the avoidance of doubt, the deferred payment of $7,500,000 will only be paid if OMI stock is
listed on a major US stock exchange such as the NASDAQ or the NYSE. Additionally, and for the
avoidance of doubt, any payments herein shall be in the form of United States dollars and any stock
compensation herein shall be in the form of either Company or OMl stock, with any payment in stock to
include attendant registration rights. If the Company chooses to use OM_J stock for a deferred payment due
hereunder, it shall be in the form of registered American depository shares ("ADS") with an assumed value
of $10 per ADS for the purpose of calculating the number of ADS to be granted; for the avoidance of doubt,
$7,500,000 would equal 750,000 ADS.

The services provided hereunder can be terminated by written notification by either party at any time after
September 30, 2022 (the "Termination Point"); provided, however, the other provisions of this
agreement will survive such termination.

The Company agrees to keep the role of Zama under this Agreement and any se1vices provided by Zama
confidential and not to disclose such information to other parties except to its advisers and
representatives; provided that such advisers and representatives would be required to keep such
infonnation confidential. Zama agrees to keep information about the Company that is received from the
 Case 1:23-cv-02250-LGS Document 33-3 Filed 04/25/23 Page 3 of 10




Page2

Company after the date of this Agreement in confidence (the "Non-Disclosure Obligation") and will not
disclose such information to other parties except to those who have signed a confidentiality agreement 01·
obligation with Zama and to advisers and representatives who have been retained by Zama to assist with
the services under this Agreement; provided that such advisers and representatives would be required to
keep such infonnation confidential. Notwithstanding the foregoing, no party will have any obligation
with respect to information under this paragraph if such information was already known by a party or is
publicly known (or becomes public not through a breach of this paragraph) prior to disclosure, obtained
from another party other than a party to this Agreement or its advisers or representatives or independently
developed by a pa.i1y. In addition, notwithstanding any provision in this paragraph to the contrary, (i)
each party will be able to make any disclosures required by law or requested by a regulatory agency, and
(ii) each party acknowledges and agrees that the other party and its advisers and representatives may
retain and use mental impressions of information and that such mental impressions will not be considered
to be info1mation subject to this paragraph and will not act to restrain the future business, investment or
other activities of such party.

The Company agrees to indemnify Zarna as provided in Anuex A hereto, the terms of which are
 incoi-porated into this agreement in their entirety. This agreement is govemed by the laws of the State of
New York, without regard to conflicts oflaw principles, and will be binding upon and inure to the benefit
of the Company and Zama and their respective successors and assigns. The Company and Zarna agree to
waive trial by jury in any action, proceeding or counterclaim brought by or on behalf of either party with
respect to any matter whatsoever relating to or arising out of the engagement ol' performance by Zama
hereunder. The parties to this agreement hereby submit to the exclusive jurisdiction of the federal or state
courts located in the County of New York, State of New York in any prnceeding arising out of or relating
to this agreement, agrees not to commence any suit, action or proceeding relating thereto except in such
courts, and waives, to the fullest extent permitted by law, the right to move to dismiss or transfer any
action brought in such court on the basis of any objection to personal jurisdiction, venue or inconvenient
forum. Neither this engagement, nor the delivery of any materials with this engagement, is intended to
confer rights upon any persons not a party hereto (including security holders, employees or creditors of
the Company) as against Zarna or our affiliates or their respective directors, officers, agents and
employees. Neither this agreement nor the receipt by Zama of confidential information nor any other
matter shall give rise to any fiduciary, equitable or contractual duties (including without limitation any
duty of trust or confidence) that would prevent or restrict the Group from acting on behalf of other
customers or for its own account. Furthermore, the Company agrees that neither the Group nor any
member or business of the Group is under a duty to disclose to the Company or use on behalf of the
Company any information whatsoever about or derived from those activities or to account for any
revenue or profits obtained in connection with such activities. This agreement may be executed in two or
more counterparts, each of which shall be deemed to be an original, but all of which shall constitute one
and the same agreement. Neither party may assign its rights or obligations under this agreement without
the written consent of the other party and any assignment in violation of the foregoing will be null and
void. This agreement may only be amended or waived by a writing signed by each party to this
agreement. The use of"or" in this agreement is not exclusive and shall be deemed to mean "and/or".

We are delighted to accept this engagement and look forward to working with you on this matter. Please
confirm that the foregoing is in accordance with your understanding of our agreement by signing and
returning to us a copy of this letter.
 Case 1:23-cv-02250-LGS Document 33-3 Filed 04/25/23 Page 4 of 10




Page3




                                                       Very truly yours,

                                                       ZAMA CAPITAL STRATEGY ADVISORS LLC


                                                       By:~~--
                                                       Name~an
                                                       Title: Managing Partner

Accepted and agreed to as of
the date set forth above:



                   if. J}
Universal Entertainment Corporation

By:
Name:
               i
           J"" l=-"'J' "'oto
Title: ~e,n:>'ell~t;.-e o;ree,tr.r o.i-.l Pml.l.el"t
 Case 1:23-cv-02250-LGS Document 33-3 Filed 04/25/23 Page 5 of 10




Page4

                                                  Annex A

In connection with the engagement of Zama to provide consultancy services to the Company as described
in the attached engagement Jetter, inclusive of any changes or modifications to such services (the
"Engagement"), the Company agrees that it will indemnify and hold harmless Zama and its affiliates and
their respective directors, officers, agents and employees and each other person controlling Zama or any
of its affiliates (each, an "Indemnified Party"), to the full extent lawful, from and against any losses,
expenses, claims or proceedings including shareholder actions (collectively, "Losses") (i) related to or
arising out of (A) the contents of oral or written information provided by Zama, its affiliates and their
respective employees or its other agents, which information either the Company, Zama or their respective
affiliates provide to any counterparty of the Company or their affiliates or (B) any other action or failure
to act by Zama, its affiliates and their respective employees or its other agents or by Zama or any
Indemnified Party in accordance with and at the Company's request or with the Company's consent, or
(ii) otherwise related to or arising out of the Engagement or conduct in connection therewith, except that
this clause (ii) shall not apply with respect to any Losses to the extent such Losses are finally judicially
determined to have resulted from the gross negligence or willful misconduct of such Indemnified Party
("Uncovered Losses"). The Company further agrees that no Indemnified Party shall have any liability
(whether direct or indirect, in contract or t011 or otherwise) to the Company or any of its affiliates,
creditors or secw·ity holders for or in connection with the Engagement or other conduct in connection
therewith except for Losses incurred by the Company to the extent such Losses are finally judicially
determined to have resulted from the gross negligence or willful misconduct of such Indemnified Party.

The Company agrees that it will not, without the prior written consent of Zama, settle any pending or
threatened claim or proceeding related to or arising out of the Engagement or other conduct in connection
therewith (w11ether or not Zama or any Indemnified Party is a party to such claim or proceeding) unless
such settlement includes a provision unconditionally releasing Zama and each other Indemnified Party
from all liability in respect of claims by any releasing party related to or arising out of the Engagement or
conduct in connection therewith. Zama will not settle any claims or actions for which it seeks
indemnification or contribution hereunder without the consent of the Company, not to be unreasonably
withheld. The Company wm also promptly reimburse each Indemnified Party for all reasonable expenses
(including reasonable counsel fees and expenses) as they are incurred by such Indemnified Party in
connection with investigating, preparing for, defending, or providing evidence in, any pending or
threatened claim or proceeding in respect of which indemnification or conttibution may be sought
hereunder (whether or not Zama or any Jndemnified Party is a party to such claim or proceeding) or in
enforcing this Annex.

The foregoing provisions are in addition to any rights any Indemnified Party may have at common law or
otherwise and shall be binding on and inure to the benefit of any successors, assigns, and personal
representatives of the Company and each Indemnified Party. The provisions of this Annex shall remain
in full force and effect notwithstanding (i) any investigation made by or on behalf of Zama or (ii) the
completion or termination of the Engagement.
Case 1:23-cv-02250-LGS Document 33-3 Filed 04/25/23 Page 6 of 10




Page5

                                  Appendix

               Primary Work Related to Project Tiger (attached)
Zama Capital Strategy Advisors
                         Case 1:23-cv-02250-LGS Document 33-3 Filed 04/25/23 Page 7 of 10

Appendix: Primary Work Related to Project Tiger



       TASK                                                                                                            Responsibility
        Post-Transaction Announcement through Listing and Post-Listing
        TRLEILease
       Valuation and analysis of utilized and excess land                                                               UEC/Zama

        Structuring of new lease arrangement                                                                            UEC/Zama

        Documentation of new lease agreement                                                                          UEC/Zama/Legal


        Intercompany Debt Push Down
        J\oalysis of intercompaoy debt/ ordinary course receivables and payables                                        UEC/Zama

        Negotiation of intercompany debt treatment                                                                      UEC/Zama

        Structuring of intercompany debt treatment/ tax considerations                                                UEC/Zama/Legal

        Documentation of new intercompany debt arrangement                                                            UEC/Zama/Legal


        Governance and Compensation
        Create/review UEC independent board member candidate list                                                        UEC/Zama

        Ensure adherence to Nasdaq independence standards                                                             UEC/Zama/Legal

        Review 26 Capital board member candidate list                                                                    UEC/Zama

        Coordinate background checks for board member candidates                                                         UEC/Zama

        Compose press release announcing selection of Okada Manila board members                                         UEC/Zama

        Compensation benchmarking for executive/ employee stock compensation pool                                        UEC/Zama

        Develop an executive incentive compensation plan that is consistent with US listed company standards             UEC/Zama

        Allocation of employee compensation pool and determination of vesting schedules and metrics                      UEC/Zama



        Business Strategy Consulting
        Evaluation of different business development opportunities                                                       UEC/Zama

        Analyze potential uses for excess land (including contacting and evaluating strategic development partners)      UEC/Zama

        Review and assess proposals from 26 Capital                                                                      UEC/Zama

        Advise on capital markets messaging to foreign equity investors for U EC                                         UEC/Zama
Communication/Marketing Materials Post-Signing
                                    Case 1:23-cv-02250-LGS Document 33-3 Filed 04/25/23 Page 8 of 10
Prepare talking points/FAQ's for discussions with key investors                                                        UEC/Zama

Media plan development                                                                                            UEC/Zama/26 Capital
Review roadshow presentation materials/FAQ's and iterative review with SPJ\C                                      UEC/Zama/26 Capital

Prepare Investor/Buy-Side Target List                                                                             UEC/Zama/26 Capital

Prepare Sell-Side Target List                                                                                     UEC/Zama/26 Capital

Reach out to target investors for participation in roadshow meetings                                              UEC/Zama/26 Capital

Schedule roadshow meetings                                                                                        UEC/Zama/26 Capital

Prepare investor day presentation and iterative review with SP AC                                                 UEC/Zama/26 Capital
Prepare materials for posting on UEC Manila investor website                                                           UEC/Zama

Select vendors for go-forward public earnings communications                                                           UEC/Zama


PCAOB Audit Completion
Liase with Ul·IY for completion of key audit milestones                                                                UEC/Zama
Selection of financial statement preparation vendor                                                                    UEC/Zama


SEC Proxy Process (F-4)
J\ssit in preparing analysis, market data, marketing language, and background information materials for proxy   UEC/Zama/26 Capital/Legal
Review of draft proxy statements                                                                                UEC/Zama/26 Capital/Legal
Assist in review and response to first round SEC proxy comments                                                 UEC/Zama/26 Capital/Legal
Assist in review and response to second round of SEC pro:x-y comments                                           UEC/Zama/26 Capital/Legal
Compose press release announcing definitive proxy statement filed/ effectiveness                                UEC/Zama/26 Capital/Legal
Analyst Education & Marketing -Analyst Day
                                      Case 1:23-cv-02250-LGS Document 33-3 Filed 04/25/23 Page 9 of 10
Develop analyst day agenda & attendee list                                                               UEC/Zama/26 Capital
Draft save the date                                                                                      UEC/Zama/26 Capital
Prepare analyst day presentation                                                                         U EC/Zama/26 Capital
Coordinate Webcast Logistics                                                                                 UEC/Zama
Company model review (financial projections and KP!s)                                                        UEC/Zama
Prepare fit\Q talking points                                                                                 UEC/Zama
Notify analysts of "save tbe <late"                                                                      UEC/Zama/26 Capital
fiinalize expected Q&A list                                                                                  UEC/Zama
Presentation training and practice                                                                           UEC/Zama
Model maintenance/ update KPis                                                                               UEC/Zama
Post presentation follow up with each analyst for feedback and continued education                           UEC/Zama


Investor Relations Website
Obtain vendor proposals                                                                                       UEC/Zama
Assess proposals & select a vendor                                                                            UEC/Zama
Engage vendor & obtain draft contract                                                                        UEC/Zama
Negotiate & sign contract                                                                                     UEC/Zama


Bell Ringing Cere01ony at Exchange
Coordinate bell ringing ceremoney /handle logistics                                                           UEC/Zama
Bell ringing ceremony at Nasda4 exchange                                                                      UEC/Zama


Exchange Agent Engagement
Exchange agent candidate list                                                                                 UEC/Zama
Negotiate terms and select cxdrnngc agent                                                                     UEC/Zama
Coordinate KYC: process with exchange agent                                                                   UEC/Zama
Public Company Vendor Selection & Management
                                    Case 1:23-cv-02250-LGS Document 33-3 Filed 04/25/23 Page 10 of 10
\1'/ebcast services                                                                                     UEC/Zama
Wire (press) se1vices                                                                                   UEC/Zama
Conference calls & transcripts                                                                          UEC/Zama
Market Data Services (including surveillance/holder analysis)                                           UEC/Zama
Transfer agent                                                                                          UEC/ Zama
